 Case 2:20-cv-09893-JGB-SHK Document 217 Filed 04/12/22 Page 1 of 2 Page ID #:3141




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11                      UNITED STATES DISTRICT COURT
12                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     IMMIGRANT DEFENDERS LAW                   No. 2:20-cv-09893 JGB (SHKx)
14   CENTER, a California corporation, et al.,
                                               ORDER
15                   Plaintiffs,
16                     v.
17   ALEJANDRO MAYORKAS, Secretary,
     Department of Homeland Security, in his
18   official capacity, et al.,
19                     Defendants.
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1          IT IS HEREBY ORDERED that the hearing on Defendants’ Motion to
2    Dismiss the Second Amended Complaint (Dkt. 189) and Plaintiffs’ Motion for
3    Class Certification (Dkt. 205) is hereby continued to May 2, 2022 at 9:00 a.m.
4
5    Dated: April 12, 2022
                                           HONORABLE JESUS G. BERNAL
6                                          UNITED STATES DISTRICT JUDGE
     PRESENTED BY:
7
     TRACY L. WILKISON
8    United States Attorney
     DAVID M. HARRIS
9    Assistant United States Attorney
     Chief, Civil Division
10   JOANNE S. OSINOFF
     Assistant United States Attorney
11   Chief, General Civil Section
12   /s/ Matthew J. Smock
     JASON K. AXE
13   MATTHEW J. SMOCK
     Assistant United States Attorneys
14   Attorneys for Defendants
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